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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-00053 (CJN)
               v.                            :
                                             :
EDWARD JACOB LANG,                           :
                                             :
                      Defendant.             :

                    JOINT REVISED PRETRIAL SCHEDULING ORDER

       The trial shall commence in this matter on December 2, 2024, at 9:00 a.m. in Courtroom

17. The following deadlines shall govern pretrial proceedings:

       1. By November 8, 2024, the Parties shall exchange pre-marked exhibits, and be prepared

to raise objections to any proposed exhibit at the Pretrial Conference;

       2. By November 8, 2024, the Parties shall submit a draft of any stipulations;

       3. By November 15, 2024, the Parties shall meet and confer about exhibits and witnesses,

to discuss anticipated objections and stipulations for admissions.

       4. By November 15, 2024, counsel for the defendant shall identify and disclose the Court

and the counsel for the government each witness the defense intends to call with a privilege

against self-incrimination, so the Court may address any need to appoint conflict-free counsel for

any such witness. The United States shall identify any defense witness that it believes may

require conflict-free counsel by November 16, 2024.

       5. Counsel shall appear for a pretrial conference on November 19, 2024, at 9:30 a.m. in

Courtroom 17; and

       6. Both parties shall endeavor to make Jencks Acts disclosures as to each witness each

party expects to call in its case-in-chief by November 19, 2024. Any Brady material not already

disclosed also must be disclosed by this date. The government shall endeavor to disclose
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discoverable grand jury material not previously produced by this date.

                                           Respectfully submitted,

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                                           UNITED STATES ATTORNEY
                                           D.C. Bar No. 481052


                                            /s/ Karen Rochlin
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